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Case 3:19-cr-00083-M Document 69 Filed 08/16/19 Pagelof6 PagelD 184

UNITED STATES DISTRICT COURT
for the

NORTHERN DISTRICT OF TEXAS

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UNITED STATES OF AMERICA § G t | 5 | | A
§ iN . L
§
Plaintiff(s), §
Vv § Civil Action No. 3:19-CR-00083-M
§
RUEL M. HAMILTON :
Defendant(s). §

RETURN OF SERVICE

Came to my hand on Tuesday, August 6, 2019 at 10:30 AM,

Executed at: 1500 MARILLA ST. ROOM 5FN, DALLAS, TX 75201
within the county of DALLAS at 11:20 AM, on Tuesday, August 6, 2019,
by individually and personally delivering to the within named:

MUDT ALAS

 

DALLAS CITY COUNCIL

[SsGiHY 91 ONY SIR

At

By delivering to, ADAM MEDRANO
By delivering to Authorized Person, PATRICIA DE LA GARZA
a true copy of this

7 sat

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS IN A CRIMINAL
CASE

having first endorsed thereon the date of the delivery.

BEFORE ME, the undersigned authority, on this day personally appeared Tracy Edwards who after being duly sworn

on oath states: "My name is Tracy Edwards. I am a person not less than eighteen (18) ye slot age and I am competent to
make this oath. I am a resident of the State of Texas. I have personal of of th¢ facts and statements contained

 
 
 
 

herein and aver that each is true and correct. I am not a party to nor-related or Affiliated any party to this suit. I have
no interest in the outcome of the suit. I have never been convigted of a felony or offa misdemeanor involving moral
turpitude. I am familiar with the Texas Rules of Civil Proceduré, and the Texas CivilfPractice and Remedies Codes as
they apply to service of process. I am certified by the Judicial Bran h Certific ion Cqmfnission to deliver citations and
other notices from any District, County and Justice Courts in ard fokthe | lof , yn compliance with rule 103 and
501.2 of the TRCP. |

 

 

racy mu RSC1872 - Exp 03/31/20
racy ar tenon com

igned authority, on this

 

Subscribed and Sworn to by Tracy Edwards, Before Me, the un
77! day of August, 2019.

; CE MiGHAEL 5. HARP | Notary Public pOBAR the State of Texas

ID#12499806-6 i;
Com mm. Exp. July 23, 2020 fi

 

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4; or wes M
Case 3:19-cr-00083-M Document 69 Filed 08/16/19 Page.2o0f6 PagelD 185
. AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case

 

UNITED STATES DISTRICT COURT

 

for the
Northern District of Texas
United States of America )
Vv. )
Ruel M. ) Case No. 3:19-CR-00083-M
Hamilton )
Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
OBJECTS IN A CRIMINAL CASE
To: Dallas City Council
c/o Adam Medrano, Dallas City Hall 1500 Marilla St. Room 5FN Dallas, Texas 75201

 

(Name of person to whom this subpoena is directed)

YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:

Any documents that describe or reflect the Council’s policies with respect to supporting Texas Department of
Housing and Community Affairs’ provision of tax-exempt bonds and/or tax credits for real estate projects in Dallas
from November 2013 through August 2018, including without limitation (a) votes in favor of or against having the
Texas Department of Housing and Community Affairs provide tax-exempt bonds and/or tax credits for real estate
projects, and (b) any documents in the possession of the Dallas City Council reflecting a vote for or against a measure
concerning AmeriSouth, or a decision not to advance a measure concerning AmeriSouth, by the Dallas City Council
from May 2007 through February 2019.

 

 

 

Place: Winston & Strawn, LLP 2121 N. Pearl Street Suite 900 Date and Time: August 16, 2019
Dallas, Texas 75201

 

 

 

Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.

Date: 8/2/2019
/s/Dion J. Robbins

 

Attorney’s Signature

 

The name, address, e-mail, and telephone number of the attorney representing (name of party) Ruel Hamilton
, who requests this subpoena, are:

 

Abbe Lowell 1700 K St NW, Washington, DC 20006, ADLowell@winston.com (202) 282-5875
Dion Robbins 2121 N. Pearl Street #900 Dallas, Texas 75201, DRobbins@winston.com (202) 453-6453

 

 

 

Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
 

practice undP ROLE tect SOR RESHMid OCHO aaieh ea jed GREP HR? cot FOR frach Omer RAR 17(c) to
* 1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte; 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
 

 

. Case 3:19-cr-00083-M Document 69 Filed 08/16/19 Page 4of6 PagelD 187
. AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 2)

Case No. 3:19-CR-00083-S
PROOF OF SERVICE

This subpoena for (name of individual and title, if any)

 

was received by me on (date)

O Iserved the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ;or

 

 

QO Ireturned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and
title

 

Server's address

** SEE ATTACHED **
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Case 3:19-cr-00083-M Document 69 Filed 98/16/19 Page 50f6 PagelD 188
. AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)

 

 

Additional information regarding attempted service, etc.:
 

. Case 3:19-cr-00083-M |
_ AO 89B (07/16) Subpoena to Produce Documents, nr ogume G8, FSS, Q8/ 16/18 Page 6 of 6 PagelD 189

 

 

 

Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)

(c) Producing Documents and Objects.

(1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other
objects the subpoena designates. The court may direct the witness to produce the designated items in court
before trial or before they are to be offered in evidence. When the items arrive, the court may permit the
parties and their attorneys to inspect all or part of them.

(2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the
subpoena if compliance would be unreasonable or oppressive.

(3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or
information is filed, a subpoena requiring the production of personal or confidential information about a victim
may be served on a third party only by court order. Before entering the order and unless there are exceptional
circumstances, the court must require giving notice to the victim so that the victim can move to quash or
modify the subpoena or otherwise object.

(a) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The
server must deliver a copy of the subpoena to the witness and must tender to the witness one day’s witness-
attendance fee and the legal mileage allowance. The server need not tender the attendance fee or mileage allowance
when the United States, a federal officer, or a federal agency has requested the subpoena.

(e) Place of Service.

(1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any
place within the United States.

(2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate
excuse, disobeys a subpoena issued by a federal court in that district. A magistrate judge may hold in contempt a
witness who, without adequate excuse, disobeys a subpoena issued by that magistrate judge as provided in 28
U.S.C. § 636(e).
